Case 1:18-md-02865-LAK   Document 139-3   Filed 06/12/19   Page 1 of 3




            EXHIBIT C
      Case 1:18-md-02865-LAK              Document 139-3          Filed 06/12/19        Page 2 of 3



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     Case 1:18-md-02865-LAK           Document 139-3        Filed 06/12/19     Page 3 of 3




BKG 2018-02-19 no 116

Government Accounting, etc

§6

The Ministry of Finance sets the rules on the state's accounting system

Paragraph 2.
The Modernization Board manages the implementation of the rules on state accounting. All draft
laws, notices and circulars containing provisions on state accounting must be submitted
The Modernization Board for approval.

Paragraph 3.
The Modernization Board is responsible for preparing the state accounts in accordance with the
Ministry of Finance's guidelines.

Paragraph 4.
The Modernization Board makes liquidity available to those in §4, paragraph 1, stated accounting
institutions as well as those institutions mentioned in §4 paragraph 4.

Paragraph 5.
The Modernization Board is responsible for the provisions in §11 paragraphs 1 and 2, and the
associated auxiliary systems. The Modernization Board is responsible for setting the relevant
requirements for the operation and safety of the systems, including personal data, and ensuring
compliance with the requirements.

Paragraph 6.
The Modernization Board also has the overall responsibility for planning and implementing
transitions during the ministerial areas’ use of the systems mentioned in §11 paragraphs 1 and 2.
